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 1   David B. Rosenbaum (009819)
     Travis C. Hunt (035491)
 2   BriAnne N. Illich Meeds (036094)
     OSBORN MALEDON, P.A.
 3   2929 North Central Avenue, 21st Floor
 4   Phoenix, Arizona 85012-2793
     Telephone: (602) 640-9000
 5   drosenbaum@omlaw.com
     thunt@omlaw.com
 6   billichmeeds@omlaw.com
     Counsel for C.M. Plaintiffs
 7   (Additional Counsel Listed on Signature Page)
 8   Counsel for Plaintiffs (Additional Counsel for Plaintiffs Listed on the Signature Page)
 9
10                      IN THE UNITED STATES DISTRICT COURT
11                           FOR THE DISTRICT OF ARIZONA
12
     C.M., on her own behalf and on behalf of      No. 2:19-cv-05217-SRB
13   her minor child, B.M.; L.G., on her own
     behalf and on behalf of her minor child,      PLAINTIFFS’ RESPONSE IN
14   B.G.; M.R., on her own behalf and on          OPPOSITION TO DEFENDANT
15   behalf of her minor child, J.R.; O.A., on     UNITED STATES OF AMERICA’S
     her own behalf and on behalf of her           MOTION TO COMPEL THE
16   minor child, L.A.; and V.C., on her own       ADULT PLAINTIFFS TO SUBMIT
     behalf and on behalf of her minor child,      TO RULE 35 PSYCHOLOGICAL
17
     G.A.,                                         EXAMINATIONS AND SECOND
18                                                 MOTION TO EXTEND EXPERT
                         Plaintiffs,               DISCOVERY DEADLINES
19
     v.
20
     United States of America,
21
22
                         Defendant.
23
24
25
26
27
28
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 1                                       INTRODUCTION
 2          The United States has for the better part of two years explicitly acknowledged
 3   that its policy decisions that led to the separations of the five Plaintiff families in this
 4   action caused longstanding trauma and emotional harm for parents and children alike.
 5   Despite that acknowledgment, the United States has moved for permission to subject
 6   each of the adult Plaintiffs to day-long psychological examinations for the purported
 7   purpose of assessing the harms each Plaintiff suffered. It filed this motion on the
 8   second-to-last possible date for service of its expert reports, more than three months
 9   after it informed Plaintiffs’ counsel of its plan to seek such examinations, and it seeks
10   an additional 60 days to complete the examinations and serve reports.
11          Plaintiffs recognize that in a case like this one, where the alleged harm is
12   severe and ongoing emotional distress, it is normal practice for a court to permit
13   defendants to conduct their own psychological examinations under Fed. R. Civ. P.
14   35(a). In the circumstances of this case, however, where the government’s highest
15   officials have already acknowledged the psychological suffering experienced by each
16   Plaintiff, and where the government has waited until the last possible moment to seek
17   permission to conduct its own examinations, normal practices do not apply. Because
18   the government cannot establish the requisite “good cause” under Fed. R. Civ. P.
19   35(a)(2)(A) that would justify this Court’s exercise of discretion to permit the
20   examinations to go forward, the motion should be denied in all respects.
21   Alternatively, if the Court were to allow the examinations, the proposed examinations,
22   and the timeframe for conducting them, should be significantly curtailed.
23                                       BACKGROUND
24   I.     Defendant’s Acknowledgment of Plaintiffs’ Severe Emotional Harm
25          The five Plaintiff families have brought claims under the Federal Tort Claims
26   Act, 28 U.S.C. § 1346(b) et seq., alleging that, among other things, employees of the
27   federal government intentionally caused them extreme and life-altering harm when
28                                             2
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 1   those employees separated them from one another upon their entry to the country in
 2   and around May 2018, failed to track where each family member was sent after their
 3   separation, failed to provide opportunities for family members to communicate with
 4   one another, and failed to reunite them until a court ordered them to do so. That
 5   Plaintiffs would suffer emotional harm was never in question. More than a year
 6   before Plaintiffs entered the country, when plans to separate families were publicized,
 7   the government was warned about the traumatic impact of separation. For example,
 8   on January 30, 2017, the American College of Physicians issued a public statement
 9   raising concerns “about the health consequences of policies that would split up
10   families, including separating parents and children from each other.”1 Similarly, on
11   March 4, 2017, the American Academy of Pediatrics issued a statement focused on
12   children, noting that the “additional trauma of being separated” from caregivers would
13   exacerbate the stress children experience when seeking refuge in the United States.2
14          Despite these warnings, family separation practices were implemented—
15   because the resulting harm was the entire point. As the President’s then-Chief of
16   Staff confirmed in a press appearance on May 11, 2018, separations would be a
17   “tough deterrent.”3 Indeed, as discovery has shown in this case, the officials charged
18   with implementing the separation policy spent May 2018 focused on preventing U.S.
19   Border Patrol from reunifying parents and children, as doing so would undermine the
20   entire effort to deter immigration by causing trauma to families. ECF No. 210 at 5-9.
21
     1
       Am. College of Physicians, Immigration Position Statement (Jan. 30, 2017),
22   https://www.acponline.org/acp_policy/policies/immigration_position_statement_2017
23   .pdf.
     2
       Fernando Stein & Karen Remley, Am. Acad. Of Pediatrics, AAP Statement
24   Opposing Separation of Mothers and Children at the Border (Mar. 4, 2017),
     https://www.aap.org/en/news-room/news-
25
     releases/pediatrics2/2017/immigrantmotherschildrenseparationv/.
     3
26     Transcript: White House Chief of Staff John Kelly’s Interview with NPR, NPR (May
     11, 2018), https://www.npr.org/2018/05/11/610116389/transcript-white-house-chief-
27   of-staff-john-kellys-interview-with-npr.
28                                              3
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 1          As this litigation has progressed, the government has fully acknowledged that
 2   its practices had their intended effect. Its recent statements on this point have been
 3   numerous, but they have all had the same unassailable theme: that separating parents
 4   and children caused significant trauma. That recognition started before the current
 5   administration took office, with the President, then a candidate, declaring that family
 6   separation was “criminal,” “abhorrent,” and “violates every notion of who we are as a
 7   nation.”4 The government echoed this position in this litigation, informing the Court
 8   that “President Biden has ‘condemn[ed] the human tragedy that occurred when our
 9   immigration laws were used to intentionally separate children from their parents or
10   legal guardians . . . including through the use of the Zero-Tolerance Policy.’” ECF
11   No. 99 at 2. Department of Homeland Security (DHS) Secretary Alejandro Mayorkas
12   has referred to family separation as “unconscionable,”5 and “way outside the bounds
13   of what we as a civilized and humane country would ever countenance.”6 Based on
14   his personal meetings with separated families, the Secretary described the “immense
15   trauma they have suffered” due to their separations.7 The Secretary, likewise,
16   confirmed the administration’s understanding of the harm’s longevity. In testimony
17   before the Senate Judiciary Committee three-and-a-half years after most families were
18   separated (including Plaintiffs), the Secretary stated that “tragically the trauma of that
19
20
     4
21     Jonathan Blitzer, Why Biden Refused to Pay Restitution to Families Separated at the
     Border, The New Yorker (Dec. 22, 2021), https://www.newyorker.com/news/news-
22   desk/why-biden-refused-to-pay-restitution-to-families-separated-at-the-border.
     5
23     DHS Press Release, DHS to Request Public Input on How the U.S. Government Can
     Prevent Family Separations at the U.S. Border (Dec. 9, 2021),
24   https://www.dhs.gov/news/2021/12/09/dhs-request-public-input-how-us-government-
     can-prevent-family-separations-us-border.
25   6
       Caitlin Dickerson, The Secret History of the U.S. Government’s Family-Separation
26   Policy, The Atlantic (Aug. 7, 2022), https://www.theatlantic.com/magazine/
     archive/2022/09/trump-administration-family-separation-policy-immigration/670604/.
27   7
       Supra note 5.
28                                              4
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 1   separation, even though they are now physically reunited, continues.”8
 2          Indeed, as a result of a settlement in another case, the government is providing
 3   mental health services to families separated at the border under the prior
 4   administration’s policies.9 It has pursued a publicity campaign fully endorsing the
 5   concept that separations caused longstanding emotional harm. A flyer regarding the
 6   services, which is posted on the DHS website,10 asks:
 7                 Were you separated from your children when you came to
                   the U.S.?
 8
                   Are you or your children experiencing anxiety, fear, anger,
 9                 sadness, or difficulty sleeping since being reunified?
10   The flyer advises that people who continue to suffer the effects of their separation are
11   “entitled to receive help” and can arrange for services free of charge.11
12   II.    The History of Defendant’s Request for Psychological Examinations
13          A. The Parties’ Early Contemplation of Expert Disclosures
14          Since the outset of this case, the government has known about Plaintiffs’
15   claims that they suffered the same severe and longstanding emotional harm described
16   above. The government recognizes as much in the instant motion. See ECF No. 288
17   at 5-6 (highlighting Plaintiffs’ allegations of emotional harm). The government was,
18   likewise, aware from the earliest stage of the case that Plaintiffs would prove their
19   damages with expert testimony. The parties’ joint case management plan proposed
20
     8
21     Oversight of the Depart. of Homeland Security: Hearing Before the S. Comm. on the
     Judiciary, 117th Cong. 45:19 (Nov. 16, 2021) (statement of Alejandro N. Mayorkas,
22   Secretary, U.S. Dept. of Homeland Security), https://www.judiciary.senate.gov/
23   meetings/10/20/2021/oversight-of-the-department-of-homeland-security.
     9
       The services are provided by the Seneca Family of Agencies. See
24   https://senecafoa.org/todopormifamilia/. The services were arranged following an
     injunction entered in J.P. v. Sessions, No. 18-6081, 2019 WL 6723686 (C.D. Cal.
25
     Nov. 5, 2019).
     10
26      See Ex. 1, https://www.dhs.gov/sites/default/files/publications/21_1004-
     todopormifamiliainfographic_english_0.pdf.
27   11
        Id.
28                                               5
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 1   deadlines for affirmative, rebuttal, and supplemental expert disclosures. ECF No. 42
 2   at 13. In light of the parties’ proposal, the Court’s first Case Management Order
 3   imposed deadlines for the parties to serve expert reports. ECF No. 47 at 2.
 4          The parties engaged in preliminary discovery until April 19, 2021, when, at the
 5   government’s instigation, the parties jointly moved to hold the case in abeyance to
 6   allow for efforts to negotiate a global settlement of all family separation cases. ECF
 7   No. 101. Those negotiations lasted eight months until the government terminated
 8   them without explanation, leading Plaintiffs to file on December 21, 2021, a motion to
 9   lift the Court’s previous Order staying the case. ECF No. 118.
10          The Court granted that motion and, on March 1, 2022, issued an Amended
11   Case Management Order. ECF No. 144. The Amended Order implemented the same
12   scheduling structure as the initial order with respect to experts, providing deadlines of
13   August 25, 2022, for Plaintiffs’ disclosures; September 23, 2022, for the
14   government’s disclosures; and October 24, 2022, for rebuttal disclosures. Id. at 4.
15          B. Information Provided to the Government Regarding Plaintiffs’
               Traumatic Emotional Harms
16
17          As the parties conducted discovery, the government received extensive
18   evidence of the harms Plaintiffs suffered when they were separated—harms that were
19   unsurprisingly consistent with what the government expected. Much of this
20   information was provided through the depositions of each adult Plaintiff that the
21   government conducted between June 28, 2022, and July 14, 2022. For example,
22   Plaintiff L.G. testified with painstaking detail over 18 pages of transcript how she
23   sobbed when her seven-year-old daughter was taken from her; how, after the
24   separation, she spent nine days in a cell with other women whose children had been
25   taken from them; how she was transported around the country to different detention
26   facilities, in fear she would be deported without her daughter; and how when she
27   finally had a phone call with her daughter weeks later, the call lasted just minutes and
28                                              6
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 1   the only thing her daughter said to her was “mommy, I miss you.” Ex. 2 at 81-98; see
 2   also https://immigrantjustice.org/cm-v-us-deposition-testimony-separated-mother
 3   (video excerpt of L.G.’s deposition testimony).12
 4          The government also received substantial documentary evidence outlining
 5   Plaintiffs’ ongoing harms. Three of the adult Plaintiffs had mental health evaluations
 6   conducted while they were detained in late 2018 after reunification with their
 7   children, and records of those evaluations have been in the government’s possession
 8   since then. Additionally, for Plaintiff V.C. and her son G.A., the government received
 9   at least 70 pages of records from a mental health clinician who has provided services
10   through the Seneca Family of Agencies.13 See Ex. 3 (filed under seal). The records
11   describe regular counseling sessions and provide definitive diagnoses. For Plaintiff
12   V.C., the records show the clinician’s diagnosis of “excessive anxiety, worry for [G.],
13   w[ith] grief (after loss and trauma) symptoms.” Id. at 3. For Plaintiff G.A., who was
14   six at the time of his separation and ten when he started treatment, the records report
15   that he had “been crying, avoiding school for 3 years,” was “sleeping a lot,” had
16   headaches, and was fatigued. Id. The clinician diagnosed him with Separation
17   Anxiety disorder, noted his symptoms of Post-Traumatic Stress Disorder, and
18   concluded that he had “Stockholm Syndrome” due to “trauma bond[ing]” with the
19   foster mother responsible for his care after he was taken from his mother. Id.
20          Significantly, the government learned through its deposition questioning about
21   the Plaintiffs’ evaluations with an expert forensic psychiatrist, Dr. Annie Steinberg.14
22
23   12
        For several other of the adult Plaintiffs, counsel for the government asked few, if
24   any, questions about the Plaintiffs’ experiences at the time of their separations.
     13
        See supra note 9.
25   14
        Dr. Steinberg is a child and adolescent psychiatrist and Clinical Professor in the
26   Department of Psychiatry at the Perelman School of Medicine at the University of
     Pennsylvania. She directs the Child Forensic Psychiatry track in the Forensic
27   Psychiatry Fellowship at the University of Pennsylvania and supervises adult and
28                                                 7
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 1   See Ex. 4 at 98-100 (O.A. testimony regarding meetings with “Annie” and counsel’s
 2   explanation that O.A. was referring to an expert witness); Ex. 2 at 124-25 (L.G.
 3   testimony referencing evaluation arranged by her attorneys and counsel’s
 4   confirmation that L.G. had met with an expert witness); Ex. 5 at 121-22 (M.R.
 5   testimony regarding meeting arranged by her attorneys with “Annie”).
 6          C. The Three-Month Lead-Up to the Government’s Motion for Rule 35
               Examinations
 7
 8          On June 14, 2022, the government informed Plaintiffs’ counsel that it intended
 9   to serve Fed. R. Civ. P. 35 Notices of psychological examinations for all Plaintiffs—
10   adults and children—to take place between July 20, 2022, and September 7, 2022.
11   Ex. 7 at 7. After Plaintiffs’ counsel asked a series of questions about the parameters
12   of the government’s proposed examinations, id. at 5-7, on June 29, the government
13   stated that it planned to seek a Court Order authorizing the examinations by the end of
14   the following week (that is, by July 8, 2022). Id. at 6. During the parties’ meet and
15   confer on July 1, 2022, Plaintiffs’ counsel asked for information about the proposed
16   examiners, the length of their proposed examinations, and details about the tests the
17   examiners would conduct. The government informed counsel that its two examiners,
18   one for the adult Plaintiffs and one for the child Plaintiffs, would conduct eight-hour
19   examinations of each adult and child, and that the examiners would not permit the
20   adult Plaintiffs to be present during the children’s examinations. Id. at 2, 4-5. After
21   the meet and confer, the government informed Plaintiffs’ counsel that it would not
22   disclose information about the testing to be conducted on the Plaintiffs. Id. at 4.
23          In an exchange of emails on July 5 and July 6, Plaintiffs’ counsel informed the
24   government that Plaintiffs would not consent to the examinations. Id. at 2-3. Five
25   days later, on July 11, the government asked for Plaintiffs’ consent to the filing of its
26
     child psychiatry residents. Dr. Steinberg’s private practice focuses on post-traumatic
27   disorders in children and adults. See Ex. 6 at 1.
28                                              8
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 1   motion regarding the examinations under seal. Id. at 1. Plaintiffs’ counsel responded
 2   later that day that Plaintiffs did not consent to a sealed filing and noted that the motion
 3   could reference Plaintiffs by initials and seal only any necessary exhibits. Id. at 1.
 4          The government did not file its promised motion on July 11. Nor did it file it
 5   any time in the following two weeks. The next time the government raised the issue
 6   of Rule 35 examinations with Plaintiffs’ counsel was on July 27, 2022, when it
 7   requested Plaintiffs’ consent to a 60-day extension of the government’s expert
 8   disclosure deadline to allow for the government to review Plaintiffs’ expert
 9   disclosures and “make determinations on whether we will go forward with seeking
10   Rule 35 examinations,” Ex. 8 at 6, a change in position from the government’s earlier,
11   definitively stated intention to seek examinations. This proposal came one month
12   before Plaintiffs’ expert disclosures were due. Counsel exchanged a series of
13   proposals and counterproposals regarding the timing of expert disclosures, id. at 1-5,
14   leading to Plaintiffs’ August 9 proposal that the government extend its expert
15   disclosure deadline by 30 days in return for an extension of time for Plaintiffs to
16   disclose potential expert reports on liability issues. Id. at 1. Thereafter, on August 12,
17   the government moved the Court for a 60-day extension of its expert disclosure
18   deadline, contending that the additional time would allow it to “review Plaintiffs’
19   expert reports before determining whether to seek Rule 35 examinations by the United
20   States’ experts.” ECF No. 268 at 4. The Court denied the motion on August 18,
21   ruling that the requested extension was premature. ECF No. 276 at 2.
22          On August 25, 2022, Plaintiffs disclosed to the government Dr. Steinberg’s
23   expert reports for each Plaintiff. The reports for each Plaintiff consisted of two
24   portions: (1) a report dated January 15, 2020, addressing the then-extant medical
25   literature on the impact of separation on parents and children and an evaluation of
26   each adult and child Plaintiff’s psychiatric functioning and (2) a supplemental report
27   dated August 25, 2022, providing an update on both recent medical literature and each
28                                            9
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 1   adult and child Plaintiff’s psychiatric functioning.
 2          D. The Government’s Current Request for Rule 35 Examinations
 3          More than two weeks after Plaintiffs’ disclosed Dr. Steinberg’s reports,15 on
 4   September 9, 2022, the government informed Plaintiffs’ counsel that it wished to
 5   revisit the issue of Rule 35 examinations. Ex. 9 at 8-9. The government’s request
 6   was not based on anything learned from its review of Dr. Steinberg’s reports. Instead,
 7   it was based on “recent developments,” namely the fact that in another case, in
 8   another jurisdiction, counsel for a separated family agreed to an eight-hour
 9   examination of the adult plaintiff and, after a dispute over the child plaintiff, the court
10   ordered a six-hour examination of that child plaintiff with permission for the parent to
11   be present during the examination. Id.
12          Plaintiffs’ counsel responded to the request by noting that the government had
13   provided no information about why it now sought examinations despite its previous
14   representations that it would base its decision on its review of Plaintiffs’ expert
15   reports. Id. at 7. Plaintiffs informed the government, further, that there did not appear
16   to be any justification for the requested examinations given Dr. Steinberg’s reports
17   finding that each Plaintiff suffered harm substantially similar to that described in the
18   government’s public statements. Id. Finally, because it was not clear to Plaintiffs
19   what the government intended to accomplish in the proposed examinations (given that
20   it previously refused to provide details regarding its intended examinations, see Ex. 7
21
22   15
        In the intervening time, on August 29, the government requested information about
23   standard instruments and questionnaires to which Dr. Steinberg’s reports made
     passing reference. Dr. Steinberg had used those materials to ensure comprehensive
24   questioning during the narrative interviews she conducted with each Plaintiff. On
     September 13 (with the short delay occasioned by Dr. Steinberg’s work and vacation
25
     related travel), Plaintiffs provided 66 pages of questionnaires and documents used by
26   Dr. Steinberg. As noted, the government initiated its latest request for Rule 35
     examinations before it had received this information—confirming that this
27   information did not factor into the government’s decision to file the instant motion.
28                                               10
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 1   at 4), Plaintiffs’ counsel asked the government to inform Plaintiffs why it was seeking
 2   evaluations and what type of testing it would perform. Ex. 9 at 7.
 3          After a meet and confer on September 15, the government provided some
 4   additional details regarding the examinations it proposed to conduct for both the adult
 5   Plaintiffs and child Plaintiffs. Id. at 3-5. On September 19, the government requested
 6   Plaintiffs’ position on an “initial” 30-day extension of the deadline for the
 7   government’s expert disclosures, without any indication of what additional extensions
 8   it might request. Id. at 3. Plaintiffs’ counsel did not agree to that request. Id. at 2.
 9          On September 22, the government informed Plaintiffs that it intended to move
10   for permission to conduct examinations of the adult Plaintiffs and for an extension of
11   time to serve its expert disclosures—for 60 days from any Order granting leave to
12   conduct the examinations or 30 days from any Order denying leave to conduct the
13   examinations. Id. at 1-2. Plaintiffs’ counsel again declined to agree to the
14   government’s requests. Id. at 1. The government then filed its motion. ECF No. 288.
15          The government’s September 22 correspondence referenced only an intent to
16   seek the Court’s permission to conduct examinations of the adult Plaintiffs, conveying
17   the impression that it would not seek examinations of the child Plaintiffs. Ex. 9 at 1.
18   In its motion, however, the government indicates that it still might seek permission to
19   conduct examinations of the child Plaintiffs at some undetermined future time. ECF
20   No. 288 at 3-4 n.1.16
                                           ARGUMENT
21
     I.     The Court Should Not Permit the Government to Conduct the Requested
22          Psychological Examinations.
23          Under Rule 35(a)(1)-(2), a request to subject a party to a psychological
24   examination must establish that the “party’s mental condition is ‘in controversy’ and
25
     16
26     Plaintiffs oppose examinations of the child Plaintiffs for additional reasons not
     addressed here. Should the government seek those examinations, Plaintiffs would
27   seek leave for further briefing.
28                                             11
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 1   the movant has shown ‘good cause’ for the requested examination.” Clark v. City of
 2   Tucson, No. CV-08-300, 2009 WL 10673474, at *1 (D. Ariz. July 14, 2009).
 3   Plaintiffs do not dispute the first point and acknowledge that they have placed their
 4   mental condition “in controversy” by “alleging serious and permanent psychological
 5   injury and damage.” Id. at *4. That element of the analysis is not, however,
 6   dispositive. The question of “good cause” remains firmly within the Court’s
 7   discretion. Accordingly, “requests for examination under Rule 35(a) must be decided
 8   on a case by case basis under all relevant circumstances and ‘are only to be ordered
 9   upon a discriminating application by the district judge of the limitations prescribed by
10   the Rule.’” Id. at *1 (quoting Schlagenhauf v. Holder, 379 U.S. 104, 118, 121
11   (1964)). The Court must carefully consider “the interest of the party to be examined
12   in avoiding unnecessary invasion of privacy balanced against the moving party’s right
13   to a fair trial.” Id. (quoting Haqq v. Stanford Hospital and Clinics, No. C 06-5444,
14   2007 WL 1593224, at *1 (N.D. Cal. June 1, 2007)).
15          This balancing test places a substantial burden on the party seeking the
16   examination. “‘Good cause’ for a mental examination requires a showing that the
17   examination could adduce specific facts relevant to the cause of action and necessary
18   to the defendant’s case.” Ragge v. MCA/Universal Studios, 165 F.R.D. 605, 609
19   (C.D. Cal. 1995) (quoting Lindemann & Kadue, Sexual Harassment In Employment
20   Law, 560 (BNA 1993)) (emphasis added). Put differently, good cause is “established
21   by a showing that the defendant has no other method to discover relevant information;
22   there is simply no less intrusive means.” Id.; see also Vangieson v. Austin, No.
23   20cv1033, 2021 WL 3908618, at *5 (S.D. Cal. Aug. 16, 2021) (quoting Conforto v.
24   Mabus, No. 12-cv-1316, 2014 WL 3407053, at *3 (S.D. Cal. July 10, 2014)
25   (discussing factors relevant to good cause analysis including “the possibility of
26   obtaining desired information by other means”). Courts apply this standard strictly
27   and generally require a compelling showing. For example, in Lahr v. Fulbright &
28                                           12
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 1   Jaworski, L.L.P, 164 F.R.D. 196, 200-01 (N.D. Tex. 1995), the court allowed the
 2   defendants to conduct an examination of the plaintiff because, besides taking
 3   deposition testimony and receiving various counselors’ reports, the defendants had
 4   only been provided with a portion of a single page of the plaintiff’s medical records.
 5          Importantly, even if a moving party can demonstrate good cause for an
 6   examination, the Court is under no mandatory obligation to allow the examination.
 7   “Regardless of the outcome of the ‘good cause’ inquiry, courts have discretion in
 8   ordering a mental examination.” Mueller v. Cnty. of San Bernardino, No. EC CV 18-
 9   151, 2019 WL 9050998, at *5 (C.D. Cal. Dec. 19, 2019) (citing Bucher v. Krause,
10   200 F.2d 576, 583 (7th Cir. 1952); Nguyen v. Qualcomm, Inc., No. CIV 09-1925,
11   2013 WL 3353840, at *4 (S.D. Cal. July 3, 2013)); Silva v. Mercado Food Enter.,
12   Inc., No. 1:10-cv-02368, 2012 WL 174926, at *3 (E.D. Cal. Jan. 20, 2012)
13   (“Nevertheless, even where the mental condition is in controversy and good cause for
14   the examination has been shown, it is still within the [c]ourt’s discretion to refuse to
15   order an examination.”).
16          Upon application of these standards, the government’s request for
17   psychological examinations of the adult Plaintiffs should be denied. The government
18   has failed to meet its burden of demonstrating good cause to support its request. Even
19   if it had met this burden, though, the facts and circumstances of this case justify the
20   Court using its discretion not to allow the examinations to proceed. Two reasons
21   support such a ruling.
22          First, the government does not require the examinations because it already
23   knows how Plaintiffs have been traumatized. As recounted above:
24           Outside experts publicly warned the government that trauma and its related
25             long-term consequences would result from its separation practices;
26           The government proceeded with its plans to separate parents and children
27             because causing emotional harm was the entire point of those practices;
28                                           13
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 1           The government has repeatedly acknowledged, including in filings in this
 2             litigation, that parents and children were harmed due to their separations;
 3           High ranking officials have confirmed their understanding that the harm
 4             caused by separations is longstanding and severe;
 5           The government has acknowledged the need for intensive treatment by
 6             funding free mental health services for families who were separated; and
 7           The government has received an abundance of information about Plaintiffs’
 8             specific harms through documentary discovery (including, for Plaintiff
 9             V.C., records of government-funded treatment), Plaintiffs’ deposition
10             testimony, and expert reports.
11   While the government’s motion emphasizes that Rule 35 evaluations are permitted in
12   the normal course, none of the cases cited in support of that proposition involved the
13   rare set of circumstances present here where the requesting defendant intentionally
14   caused harm, acknowledged that harm and that it was intentionally caused, offered
15   treatment for that harm, obtained specific information about the plaintiffs’ harm, and
16   then asked for even more information through invasive examinations and testing.17 In
17   short, this history precludes any finding that the requested examinations are
18   “necessary to the [government’s] case.” Ragge, 165 F.R.D. at 609.
19          Second, the government’s lengthy delay and changing reasons for seeking
20   psychological examinations undermines its claimed good cause. The government has
21   known from the outset of the litigation that Plaintiffs’ case would rely on expert
22   testimony—and, if it had any doubts, they were resolved through Plaintiffs’
23   17
       The closest analogy to the government’s request in this matter is found in cases
24   involving defense requests to conduct repeat examinations. Courts have uniformly
     rejected such requests. See, e.g., Melhorn v. N.J. Transit R. Ops., Inc., 203 F.R.D.
25
     176, 177–78 (E.D. Pa. 2001) (rejecting request for independent medical examinations
26   where defendant’s medical experts had already conducted examinations of plaintiff
     for company policy reasons before litigation).
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28                                              14
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 1   deposition testimony referring to evaluations with Dr. Steinberg. The government,
 2   likewise, knew of its September 23, 2022 deadline for expert disclosures for more
 3   than six months following the Court’s issuance of an Amended Case Management
 4   Order. Though it gave every indication during the parties’ discussions in July 2022
 5   that it would imminently seek examinations, it inexplicably declined to file any
 6   motion in that timeframe after Plaintiffs communicated their opposition to filing a
 7   motion under seal. The government, instead, delayed by reporting that it would
 8   review Plaintiffs’ expert reports before deciding whether to proceed with
 9   examinations, but, when it reinitiated its request that Plaintiffs consent to the
10   examinations, it mentioned nothing about those reports, instead basing its request on
11   the strategic decisions made by other lawyers, in another case, in another
12   jurisdiction.18 Given that the government has the burden to convince the Court that its
13   need for examinations outweighs Plaintiffs’ interests, Clark, 2009 WL 10673474, at
14   *1, shifting justifications seriously undermines the government’s claims. Indeed,
15   even now, the government has further shifted its position, first informing Plaintiffs
16   prior to filing its motion that it would seek examinations of the adult Plaintiffs without
17   mention of the children, but then indicating that it still might seek permission to
18   conduct examinations of the child Plaintiffs.
19          Further, Plaintiffs’ interests in not being subjected to the examinations are
20   significant and extend well beyond the general interest in avoiding an invasive and re-
21   traumatizing experience. Specifically, in bringing this action Plaintiffs have
22   committed to seeking accountability for the harms they suffered. They have answered
23
24   18
       That the government sought to negotiate the parameters of evaluations with
     Plaintiffs does not excuse this delay. Plaintiffs’ counsel made clear to the government
25
     throughout discussions between July and September that they had significant
26   objections to subjecting Plaintiffs to the examinations the government proposed.
     Given those discussions and the government’s longstanding knowledge of its
27   September 23 deadline, it was aware of the need to file a timely motion.
28                                               15
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 1   discovery requests, authorized the release of detailed personal health information, and
 2   testified in depositions—all after an eight-month delay occasioned by the
 3   government’s instigation of settlement negotiations that it later unilaterally terminated
 4   without explanation. Requiring Plaintiffs to attend day-long evaluations—and the
 5   associated tasks of arranging time away from work or for childcare—imposes
 6   significant costs and burdens after the time provided for discovery when Plaintiffs
 7   could have expected any Court-ordered examinations to occur.19
 8          Plaintiffs’ strong interests in not participating in the examinations, therefore,
 9   substantially outweigh the government’s lack of need to conduct the examinations,
10   and the Court should exercise its discretion to deny the government’s request.
11   II.    If the Court Permits the Requested Examinations, It Should Place Careful
            Limits on the Parameters and Timeframe of the Examinations.
12
13          In the event the Court permits the government to conduct the examinations it
14   requests, those examinations should be narrowly tailored to avoid undue burden on,
15   and harm to, the Plaintiffs. Plaintiffs make requests in the following five areas:
16          Duration: Although courts often defer to the judgment of the relevant
17   examiner on the length and nature of an examination,20 given the circumstances
18   outlined above regarding the government’s lack of any need for detailed examinations
19   and the government’s delay, limitations on the duration are appropriate in this case.
20   See Shadix-Marasco v. Austin Reg’l Clinic P.A., No. A-09-CA-0891, 2011 WL
21   2011483, at *6 (W.D. Tex. May 20, 2011) (limiting the examination in a sexual
22   harassment case to one hour where defense counsel had previously asked plaintiff
23   19
        The government’s assertion that allowing examinations to take place will not
24   require an adjustment of the Court’s schedule for dispositive motions misses the
     mark, as the harm to Plaintiffs of conducting examinations in the manner the
25
     government requests has little to do with when dispositive motions are litigated.
     20
26      Plaintiffs do not at this stage of the case, object to the government’s use of Dr.
     Ricardo Winkel. Plaintiffs expressly reserve the right to seek to exclude Dr. Winkel’s
27   testimony on Daubert grounds or other bases at a later stage.
28                                                 16
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 1   multiple deposition questions about plaintiff’s past sexual abuse); Hirschheimer v.
 2   Associated Metals & Minerals Corp., No. 94 CIV 6155, 1995 WL 736901, at *5
 3   (S.D.N.Y. Dec. 12, 1995) (limiting examinations to two 90-minute sessions where
 4   expert had access to personality testing data and deposition testimony). Plaintiffs
 5   request that the Court limit any examinations of Plaintiffs to no more than four hours.
 6          Language: Although the government represents that Dr. Winkel conducts
 7   evaluations in Spanish, an adult Plaintiff in this matter speaks an Indigenous language
 8   and will require interpretation. Further, at least one Plaintiff is unable to read in her
 9   native language and will not be able to participate in any testing that requires reading
10   or writing. Any examinations of Plaintiffs should, therefore, make allowances for
11   appropriate interpretation and avoid the necessity of reading and writing.
12          Recording: Given Plaintiffs’ concerns regarding the language and literacy
13   issues noted above, the Court should require the video recording of the examinations.
14   See Schaeffer v. Sequoyah Trading & Transp., 273 F.R.D. 662, 664 (D. Kan. 2011)
15   (requiring videotaping of the examination where Plaintiff had demonstrated difficulty
16   remembering everyday events and would be unable to recount to his counsel what
17   occurred during the examination). Alternatively, the Court should require audio
18   recording of the evaluation; in prior cases, the government’s proposed examiner, Dr.
19   Winkel, has agreed to such recording. Halliday v. Spjute, No. 1:07-cv-00620, 2015
20   WL 3988903, at *4 (E.D. Cal. June 30, 2015).
21          Travel: The government suggests in its motion that Plaintiffs may be required
22   to travel to account for its expert’s licensing issues. As described above, any delays
23   in obtaining appropriate licensing arrangements are a problem of the government’s
24   own making given its delay in seeking approval for the proposed examinations. The
25   adult Plaintiffs are employed in low wage jobs with no paid time off. They have
26   young children and require childcare in their absence. They should not be subjected to
27   an additional burden requiring travel far from their homes. See Alvarado v. Nw. Fire
28                                               17
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 1   Dist., No. 19-cv-0198, 2020 WL 2199240, at *3 (D. Ariz. May 6, 2020) (ruling that it
 2   was not reasonable to require Plaintiff to travel to Phoenix for evaluation).
 3          Time Frame: The government’s second request for relief in addition to an
 4   Order requiring Plaintiffs to submit to psychological examinations is for a period of
 5   60 days to complete its examinations and disclose its reports. For the same reasons
 6   discussed above regarding the government’s delays in seeking leave to conduct the
 7   examinations, the Court should limit the time for conducting the examinations to 30
 8   days. The government has already delayed this portion of the case by (1) failing to
 9   file this motion in July when it represented to Plaintiffs that it would do so and
10   changing its position only after Plaintiffs disputed the need for filing under seal; and
11   (2) filing the instant motion the day before its expert reports were due. Plaintiffs
12   further request that the Court deny the government any additional time to consider
13   whether to conduct examinations of the child Plaintiffs.
14                                       CONCLUSION
15          For the foregoing reasons, the Court should deny the government’s motion to
16   conduct psychological examinations of the adult Plaintiffs under Fed. R. Civ. P. 35(a).
17   In the event the Court allows the examinations to proceed, it should place strict
18   limitations in order to minimize the burdens placed on Plaintiffs.
19          Respectfully submitted, this 6th day of October 2022.
20
21   /s/ BriAnne N. Illich Meeds
22   OSBORN MALEDON, P.A.
     David B. Rosenbaum (009819)
23   Travis C. Hunt (035491)
24   BriAnne N. Illich Meeds (036094)

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 1   ARNOLD & PORTER KAYE SCHOLER LLP
     Diana Reiter*
 2   Erik Walsh*
     Lucy McMillan*
 3   Harry Fidler*
     Kaitlyn Schaeffer*
 4   Brian Auricchio*
     Julia Kindlon*
 5   250 West 55th Street
     New York, NY 10019-9710
 6   Telephone: (212) 836-8000
     diana.reiter@arnoldporter.com
 7   erik.walsh@arnoldporter.com
     lucy.mcmillan@arnoldporter.com
 8   harry.fidler@arnoldporter.com
     kaitlyn.schaeffer@arnoldporter.com
 9   brian.auricchio@arnoldporter.com
     julia.kindlon@arnoldporter.com
10
     ARNOLD & PORTER KAYE SCHOLER LLP
11   R. Stanton Jones*
     David Hibey*
12   Emily Reeder-Ricchetti*
     601 Massachusetts Avenue, NW
13   Washington, DC 20001
     Telephone: (202) 942-5000
14   stanton.jones@arnoldporter.com
     david.hibey@arnoldporter.com
15   emily.reeder-ricchetti@arnoldporter.com
16   ARNOLD & PORTER KAYE SCHOLER LLP
     Sean Morris*
17   777 South Figueroa Street
     Los Angeles, CA 90017-5844
18   sean.morris@arnoldporter.com
19   KAIRYS, RUDOVSKY, MESSING, FEINBERG & LIN LLP
     Jonathan H. Feinberg*
20   The Cast Iron Building
     718 Arch Street, Suite 501 South
21   Philadelphia, PA 19106
     Telephone: (215) 925-4400
22   jfeinberg@krlawphila.com
23   NATIONAL IMMIGRANT JUSTICE CENTER
     Mark Fleming*
24   Mark Feldman*
     224 S. Michigan Ave., Suite 600
25   Chicago, IL 60604
     Telephone: (312) 660-1370
26   mfleming@heartlandalliance.org
     mfeldman@heartlandalliance.org
27
28                                      19
     Case 2:19-cv-05217-SRB Document 292 Filed 10/06/22 Page 20 of 20



 1   NATIONAL IMMIGRATION LITIGATION ALLIANCE
     Trina Realmuto*
 2   Mary Kenney*
     10 Griggs Terrace
 3   Brookline, MA 02446
     Telephone: (617) 819-4447
 4   trina@immigrationlitigation.org
     mary@immigrationlitigation.org
 5
     AMERICAN IMMIGRATION COUNCIL
 6   Katherine Melloy Goettel*
     Emma Winger*
 7   Gianna Borroto*
     1331 G Street NW, Suite 200
 8   Washington, DC 20005
     Telephone: (202) 507-7512
 9   Telephone: (202) 742-5619
     kgoettel@immcouncil.org
10   ewinger@immcouncil.org
     gborroto@immcouncil.org
11
     Attorneys for Plaintiffs C.M. et al.
12
     * Admitted pro hac vice
13
14
15
16
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18
19
20
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